            Case 1:17-cr-00201-ABJ Document 615 Filed 08/01/19 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                                     Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                     Defendant.


 JOINT MOTION TO BEGIN PRESENTENCE INVESTIGATION REPORT PROCESS


       COMES NOW, the United States of America, by and through the United States Attorney

for the District of Columbia, and the defendant through his counsel, and file this joint motion to

respectfully request that the Court order the Probation Office to begin the process of drafting the

defendant’s presentence investigation report.

       1.       On February 28, 2018, the defendant pled guilty pursuant to a cooperation plea

agreement.

       2.       To date, the defendant continues to cooperate with the government as required by

his plea agreement. He is a potential witness in two upcoming trials before this Court, United

States v. Craig, 19-CR-125 (ABJ), to begin on August 12, 2019, and United States v. Stone, 19-

CR-18 (ABJ), to begin November 5, 2019. He has also been advised by the District Attorney’s

Office for the County of New York that he will be called to testify in the trial of Paul Manafort at

some point in 2020.

       3.       Because the defendant has been cooperating for an extended period of time, and

because of the defendant’s personal matters described to the Court in ECF No. 608 at n. 1, the

defendant wishes to be sentenced as soon as possible after the completion of his cooperation with
             Case 1:17-cr-00201-ABJ Document 615 Filed 08/01/19 Page 2 of 4



the United States. The government has no objection to scheduling a sentencing date after the

aforementioned trials are finished and defendant’s cooperation has been completed.

        4.       The parties respectfully suggest that in the interim, the Probation Office could begin

the process of drafting its presentence investigation report in this case so that, if the Court sees fit,

the defendant’s sentencing can be scheduled soon after his cooperation has been completed. The

presentence investigation report will then be complete and available to the Court and the parties at

that time.

        5.       Accordingly, the parties respectfully request that the Court order the Probation

Office to begin the process of preparing the defendant’s presentence investigation report.


                                                Respectfully submitted,

                                                JESSIE K. LIU
                                                UNITED STATES ATTORNEY

                                                        /s/
                                                Fernando Campoamor Sánchez (DC 451210)
                                                Molly Gaston (VA 78506)
                                                United States Attorney’s Office for D.C.
                                                555 4th Street NW
                                                Washington, D.C. 20530
                                                Telephone: (202) 252-7698
                                                Attorneys for the United States of America


                                                       /s/
                                                Thomas C. Green (D.C. Bar No. 14498)
                                                Sidley Austin LLP
                                                1501 K Street, N.W.
                                                Washington, D.C. 20005
                                                tcgreen@sidley.com
                                                (202) 736-8069 (telephone)
                                                Attorney for Richard W. Gates III
         Case 1:17-cr-00201-ABJ Document 615 Filed 08/01/19 Page 3 of 4



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                      Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                    Defendant.

                                         [PROPOSED]
                                           ORDER

       Upon consideration of the parties’ Joint Motion to Begin Presentence Investigation Report

Process, and for good cause shown, it is hereby

       ORDERED that the Probation Office should begin the process of composing the

presentence investigation report for the defendant.



DATED:
                                                      The Honorable Amy Berman Jackson
                                                      United States District Judge
         Case 1:17-cr-00201-ABJ Document 615 Filed 08/01/19 Page 4 of 4



                                     Certificate of Service

       I hereby certify that by virtue of the ECF system, I have caused a copy of the foregoing
joint motion to be served on counsel for the defendant.

                                                                     /s/
                                                              Molly Gaston
                                                              Assistant United States Attorney
